
BURKS, J.,
concurred.
The judgment was as follows:
This day came again the parties by their counsel, and the court, having maturely considered the transcript of the record of the judgment aforesaid, and the arguments of counsel, is of opinion, for reasons stated in writing and *filed with the record, that the judgment of the said circuit court is erroneous. It is therefore considered by this court, that the said judgment be reversed and annulled, and that the plaintiff in error recover against the defendant in error its costs by it expended in' the prosecution of its writ of error and supersedeas here. And this court now proceeding to enter such judgment as the said circuit court ought to have rendered, it is considered by the court, that the demurrer to the plaintiff’s evidence be sustained, that the defendant go thereof without day, and that the plaintiff in error recover against the defendant in error its costs by it expended in the said circuit court.
Judgment reversed.
